IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

HUI MINN LEE, )

Plaintiff,
VS. Case No. 1:18-cv-1046
MARKET AMERICA, INC., 5

Defendant.

DEFENDANT MARKET AMERICA, INC.’S ANSWERS TO PLAINTIFF’S
FIRST SET OF INTERROGATORIES

COMES NOW Defendant, Market America, Inc., (hereinafter “Market America” or
“MA”), who after first being duly sworn and pursuant to provisions of Rules 26 and 33 of the
Federal Rules of Civil Procedure and hereby responds to the Plaintiffs First Set of Interrogatories

and avers:

1. Please provide the name, address and telephone number of any individual the
Defendant contends has knowledge of any facts raised in either the Amended Complaint or
Answer to the Amended Complaint. Please describe with specificity what that person has
knowledge of. |

ANSWER:

See Initial Disclosures.

2. Please provide the name, address and telephone number of any witness you intend to
offer, or who may be offered, to testify at the trial of this matter. Please describe with

specificity the facts the Defendant believes that witness will offer testimony.

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12) Please describe and state with specificity each and every reason for the Plaintiff's
separation ofemployment.

ANSWER:

Plaintiff was separated from her job for her repeated failure to work with her direct
supervisor, perform tasks assigned to her, work with new software, adapt and change her
work, failure to properly complete her training sessions as requested, and failure to be a
team player.

13) Please identify by job title each and every position that was open and available at the

time of, or within three (3) months after, the Plaintiff's termination.

ANSWER:

OBJECTION. MA objects to this interrogatory as it is overly broad and not relevant. To
provide all job openings not within Ms. Lee’s skill set or location would not be relevant to

this case.

Without waiving the foregoing, the following positions were available during the time
period requested:

Project Manager
Corporate Controller
Blog Manager

Blog Manager .
Copywriter - Asia
Markets :
Senior Accountant
TEST Recruiting
Coordinator
Product Information
Specialist :
Marketplace
Operations.
Representative
Purchasing Agent
Social Media
Community Manager
Brand and Web.
Manager :
Senior Accountant
Purchasing Agent
Senior Accountant

Social Media
Community Manager
Beauty and Cosmetics
Mobile Applications
Architect

Web Analyst
Intern(s) - Fall
Semester

Translator - Mandarin
Mobile Applications
Architect
Recruiter - Hospitality
Service Staff

Product Manager
Beauty-Cosmetics
Travel Coordinator
Events Manager
Travel Consultant
Product Manager
International

Product Information Specialist

Copy Writer - Asia Markets

2nd Shift Accounts Representative
Accounts Service Rep Billingual
Mandarin

Business Analyst - Bilingual

Travel Concierge

Purchasing Agent

Director of Field Compliance
Unauthorized Online Sales Specialist
Unauthorized Online Sales Specialist
Travel Coordinator

Senior Graphic Designer

Product Information Specilaist
Travel Consultant

Vendor Account Specialist
Marketing Product Manager -
Parenthood Lines

International Product Manager / Spain
and Mexico

Copywriter

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Web and Brand
Manager
Marketplace
Operations
Representative
Social Media
Community Manager
Health and Beauty
Help Desk
Administrator

Travel Coordinator
Business Analyst
Lead QA Engineer
Social Media
Community Manager
Events Coordinator
Events Coordinator
Product le -
US/CAN

Administrative
Assistant - Creative
Services
Administrative
Assistant
Research Specialist
HR Manager

Social Media
Community Manager
Beauty and Cosmetics
Data Processing
Representative
Travel/Events
Administrative
Assistant

Business Analyst

This the 13" day of October, 2020.

As to objections only:

Product Information Specilaist
Help Desk Administrator

IT Project Manager

Marketing Product Manager Health
and.Nutrition

QA Lead

Internet Services Product Manager
Corporate Counsel

Director of Release Management
Test Automation Engineer

Product Information Specilaist
Copywriter

Accounts Services Representative
Purchasing Agent

Python Software Engineer
Business Analyst

JAVA Software Engineer

Universe Engineer

Internet Services Product Manager
TLS Administrator

Merchant Content Coordinator

Graphic Designer - Print.

Unauthorized Online Sales

Specialist

Benefits Specialist

SEO Program Manager

Copywriter
Merchandising Manager

 

 

Camilla F. DeRoprd
Attorney for Defendant

 

NC Bar No. 41265

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